Case 2:19-cv-07271-GRB-LGD Document 39-7 Filed 01/03/23 Page 1 of 6 PageID #: 277
                                                                   EXHIBIT 5
Case 2:19-cv-07271-GRB-LGD Document 39-7 Filed 01/03/23 Page 2 of 6 PageID #: 278
Case 2:19-cv-07271-GRB-LGD Document 39-7 Filed 01/03/23 Page 3 of 6 PageID #: 279
Case 2:19-cv-07271-GRB-LGD Document 39-7 Filed 01/03/23 Page 4 of 6 PageID #: 280
Case 2:19-cv-07271-GRB-LGD Document 39-7 Filed 01/03/23 Page 5 of 6 PageID #: 281
Case 2:19-cv-07271-GRB-LGD Document 39-7 Filed 01/03/23 Page 6 of 6 PageID #: 282
